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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
AIDS VACCINE ADVOCACY               )
COALITION, et al.,                  )
                                    )
                   Plaintiffs,      )                Civil Action No. 25-cv-400
                                    )
             v.                     )
                                    )
UNITED STATES DEPARTMENT            )
OF STATE, et al.,                   )
                                    )
                   Defendants.      )
___________________________________ )


                       SECOND DECLARATION OF JESSICA DOE

I, Jessica Doe, declare the following under penalties of perjury:

       1.      I am over 18 years of age and competent to give this declaration. This declaration

is based on my personal knowledge, information, and belief.

       2.      I previously provided a declaration in this matter in my capacity as a Contracting

Officer and Foreign Service Officer at USAID (ECF 26-3).

       3.      At approximately 1 pm EST on Thursday, March 6, USAID Contracting Officers

and Agreement Officers received an email from Senior Procurement Executive (SPE) Jami

Rodgers.

       4.      Screenshots of that email are attached to this declaration as Exhibit A.

       5.      I continue to fear that the Administration will retaliate against me for

whistleblowing. As a result, I have redacted the receipt time of the email so as not to reveal the

time zone in which I am stationed.

       6.      Other than the redaction, the screenshots attached as Exhibit A are true and correct
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images of SPE Rodgers’s email.

       7.      The email directed us to review a list of terminated awards, and to issue an

expanded termination notice “tailored to the specific award and implementing partner, referencing

the relevant clauses or provisions within the award.”

       8.      This directive is consistent with my understanding and belief that there was no prior

case-by-case review of terminated contracts, awards, and grants.

       9.      I believe we are being directed to come up with post-hoc rationalizations for the

decision by USAID leadership to issue blanket terminations of thousands of awards.

       Executed on March 7, 2025.

                                                     /s/ Jessica Doe
                                                     Jessica Doe




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                         EXHIBIT A
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